        Case: 3:24-cv-50312 Document #: 26 Filed: 04/08/25 Page 1 of 1 PageID #:155




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

NECA-IBEW Local 364 Defined Contribution              )
Pension Trust Fund, et al.                            )
                      Plaintiffs,                     )
                                                      )               Case No. 24 CV 50312
       v.                                             )
                                                      )               Hon. Iain D. Johnston
                                                      )
Porter Brothers Construction, Inc.,                   )
                      Defendant.                      )

                    ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is a report and recommendation from Judge Schneider [25] that the plaintiff’s
motion for a default judgment [18] be granted and judgment be entered against defendant Porter
Brothers Construction, Inc. in the amount of $136,214.12. Judge Scheider gave Defendant to 3/25/2025
to object, but it has not done so. According to the docket, Defendant was served with the complaint on
7/31/2024, Dkt. 8, but never answered. The clerk then entered an order of default on 10/28/2024, see
Dkt. 12. According to Plaintiffs’ motion for default judgment and supporting affidavits, under the terms
of the parties' collective bargaining agreements Defendant owes delinquent contributions in the amount
of $113,125.28 and liquidated damages in the amount of $21,207.34. In addition, under the terms of the
parties' collective bargaining agreements Plaintiffs are also entitled to recover attorneys’ fees and costs
spent to recover amounts owed. According to counsel's affidavit, counsel spent 9.25 hours at hourly
rates ranging from $70.00 for paralegal work to $320.00 for work by partners for a total of $1,332.50 in
fees, plus $549.00 incurred in costs. Accordingly, and in the absence of any objection, the Court accepts
Judge Schneider’s Report and Recommendation [25], grants Plaintiffs’ motion for a default judgment
[18], and enters judgment against defendant Porter Brothers Construction, Inc. in the total amount of
$136,214. Civil case terminated.


Date: April 8, 2025                                   __________________________________
                                                      Iain D. Johnston
                                                      United States District Judge
